                      EXHIBIT 11

             North Carolina Pattern Jury Instruction
        Civil 101.46 – Definition of Intent (Intentionally)




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DEFINITION OF [INTENT] [INTENTIONALLY].
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101.46 DEFINITION OF [INTENT] [INTENTIONALLY].

       A person acts intentionally if he desires to cause the consequences of
his act or believes that the consequences are substantially certain to occur.1
Intent    may      be    proven     by    direct    evidence      or    inferred     from    the
circumstances.2


       1 See, e.g., Jones v. Willamette Indus., 120 N.C. App. 591, 594, 463 S.E.2d 294,
297 (1995); State v. Alston, 91 N.C. App. 707, 714, 373 S.E.2d 306, 312 (1988); State v.
Locklear, 84 N.C. App. 637, 643-44, 353 S.E.2d 666, 670 (1987); State v. Bright, 78 N.C.
App. 239, 243, 337 S.E.2d 87, 89 (1985).
        2 See, e.g., Foster v. Hyman, 197 N.C. 189, 192, 148 S.E.2d 36, 38 (1929)
(alteration in original) (citation omitted in original) (“[T]he intention to inflict injury may be
constructive. . . where the wrongdoer’s conduct is so reckless or so manifestly indifferent to
the consequences, where the safety of life or limb is involved, as to justify a finding of
willfulness and wantonness equivalent in spirit to an actual intent.”).




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